Case 3:23-cv-22130-MCR-ZCB   Document 155-8   Filed 03/14/25   Page 1 of 6




             Exhibit 7
2/10/25, 1:36 PMCase 3:23-cv-22130-MCR-ZCB Upsala
                                              Document
                                                  Transcripts -155-8        Filedof03/14/25
                                                               Felician University New Jersey      Page 2 of 6
                                                                                                           EXHIBIT

                                                                                                                 2




    Upsala Transcripts

                                                   Apply Now (http://felician.edu/how-to-apply/)




             Schedule a Virtual Appointment (https://felician.edu/admissions/virtual-counselor-appointments/)




https://felician.edu/academics/office-of-the-registrar/upsala-transcripts/                                           1/5
2/10/25, 1:36 PMCase 3:23-cv-22130-MCR-ZCB Upsala
                                              Document
                                                  Transcripts -155-8        Filedof03/14/25
                                                               Felician University New Jersey          Page 3 of 6

                                      Request Information (http://felician.edu/request-information/)




           IN THIS SECTION

    The following are instructions for obtaining an Upsala College Transcript:

    Send written requests to:

    UPSALA TRANSCRIPTS
    C/O Felician University – Office of the Registrar
    262 South Main Street
    Lodi, NJ 07644

    Written request must include:

             Approximate dates of attendance
             Date of birth
             Full SSN
             Returned self-addressed stamped envelope
             $10 certified bank check or money order ONLY (personal checks and company checks are
             not accepted and any request with them will be returned back to the sender)
             Please allow 2-week processing time.


       Academics (https://felician.edu/academics/)

       OFFICE OF THE REGISTRAR (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-REGISTRAR/)

       ACADEMIC CALENDAR (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-REGISTRAR/ACADEMIC-

    CALENDAR/)

       COURSE OFFERINGS (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-REGISTRAR/COURSE-

    OFFERINGS/)




https://felician.edu/academics/office-of-the-registrar/upsala-transcripts/                                           2/5
2/10/25, 1:36 PMCase 3:23-cv-22130-MCR-ZCB Upsala
                                              Document
                                                  Transcripts -155-8        Filedof03/14/25
                                                               Felician University New Jersey   Page 4 of 6
       STUDENT COMPLAINT PROCEDURE (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-

    REGISTRAR/STUDENT-COMPLAINT-PROCEDURE/)

       PRIORITY REGISTRATION (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-REGISTRAR/PRIORITY-

    REGISTRATION/)

       REGISTER ONLINE (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-REGISTRAR/REGISTER-ONLINE/)

       CLEP POLICIES & PROCEDURES (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-REGISTRAR/CLEP-

    POLICIES-PROCEDURES/)

       REQUEST TRANSCRIPT (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-REGISTRAR/REQUEST-

    TRANSCRIPT/)

       CATALOGS (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-REGISTRAR/OFFICE-OF-THE-REGISTRAR-

    CATALOGS/)

       AGREEMENTS (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-REGISTRAR/AGREEMENTS/)

       ENROLLMENT / DEGREE VERIFICATIONS (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-

    REGISTRAR/ENROLLMENT-DEGREE-VERIFICATIONS/)

       TRANSFER CREDIT POLICY ADMISSION (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-

    REGISTRAR/TRANSFER-CREDIT-POLICY-ADMISSION/)

       ADULT UNDERGRADUATE INFORMATION (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-

    REGISTRAR/ADULT-UNDERGRADUATE-INFORMATION/)

       UPSALA TRANSCRIPTS (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-REGISTRAR/UPSALA-

    TRANSCRIPTS/)

       THE 61ST ANNUAL COMMENCEMENT CEREMONIES (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-

    REGISTRAR/COMMENCEMENT-CEREMONIES/)

       GDPR POLICY (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-REGISTRAR/GDPR/)

       ESTIMATED COST OF ATTENDANCE (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-

    REGISTRAR/ESTIMATED-COST-OF-ATTENDANCE/)

       ZERO TEXTBOOK COST & LOW TEXTBOOK COST (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-

    REGISTRAR/ZTC-LTC-COURSES/)

       PARTNERSHIPS (HTTPS://FELICIAN.EDU/ACADEMICS/OFFICE-OF-THE-REGISTRAR/PARTNERSHIPS/)




https://felician.edu/academics/office-of-the-registrar/upsala-transcripts/                                    3/5
2/10/25, 1:36 PMCase 3:23-cv-22130-MCR-ZCB Upsala
                                              Document
                                                  Transcripts -155-8        Filedof03/14/25
                                                               Felician University New Jersey   Page 5 of 6
    CONTACT INFORMATION

     Office of Admissions
    Rutherford Campus
    One Felician Way
    Rutherford, NJ 07070-1612
    Phone: 201.355.1465
    Fax: 201.355.1443


     Office of the Registrar
    Lodi Campus
    262 South Main Street
    Lodi, NJ 07644
    Phone: 201.559.6043
    Fax: 201.559.6066
    Email: registrar@felician.edu (mailto:registrar@felician.edu)




                         Contact Us (https://felician.edu/contact-us/) | Directions & Maps
            (https://felician.edu/about-felician-university/directions-and-maps/) | Campus
           Emergency Information (https://felician.edu/campus-life/emergency-telephone-
          numbers/) | Request Information (https://felician.edu/request-information/) |
       Students Right to Know and Achievement (https://felician.edu/student-right-to-know-
       student-achievement/) | Privacy policy (https://felician.edu/privacy-policy/) | Anti-
                Discrimination Policy (https://felician.edu/campus-life/campus-safety/anti-
                                                               discrimination-policy/)


                                                                             TOP




https://felician.edu/academics/office-of-the-registrar/upsala-transcripts/                                    4/5
2/10/25, 1:36 PMCase 3:23-cv-22130-MCR-ZCB Upsala
                                              Document
                                                  Transcripts -155-8        Filedof03/14/25
                                                               Felician University New Jersey   Page 6 of 6

          Felician University - One Felician Way, Rutherford, New Jersey 07070
                                                    201.559.6000 / 201.355.1465


                                       (https://www.facebook.com/felicianuniversity/
                                              (https://twitter.com/FelicianUniv)
                                                     (https://www.linkedin.com/scho
                                                            (http://www.youtube.co
                                                                   (https://www.inst


                           (https://felician.edu/campus-life/clubs-and-organizations/radio-felician-

                                                                        university/)




https://felician.edu/academics/office-of-the-registrar/upsala-transcripts/                                    5/5
